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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 17-cv-60426-Ungaro/O’Sullivan

   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

           Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

         Defendants.
   ______________________________________/

                ORDER ON NON-PARTY DAVID J. KRAMER’S MOTION TO SEAL

           THIS CAUSE came before the Court on non-party David J. Kramer’s Motion to Seal

   Motion for Protective Order and Memorandum of Law. The Court has reviewed the Motion and

   is otherwise fully advised in the premises. Accordingly, it is ORDERED and ADJUDGED as

   follows:

           1.      Mr. Kramer’s Motion to Seal Motion for Protective Order is GRANTED.

           2.      The Clerk of Court shall seal the Motion for Protective Order and the Motion shall

   remain permanently sealed for the remainder of this litigation and until further order of the Court.

           DONE AND ORDERED in Miami-Dade County, Florida on this _____ day of January,

   2018.



                                                 _________________________________
                                                 Honorable John O’Sullivan
                                                 United States Magistrate Judge

   Copies furnished to all Counsel of Record
